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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :  MAGISTRATE NO. 21-MJ-
              v.                              :
                                              :  VIOLATIONS:
 CHRISTOPHER LOGSDON                          :
                                              :  18 U.S.C. § 1752(a)(1)
 And                                          :  (Entering and Remaining in a Restricted
                                              :  Building or Grounds)
 TINA LOGSDON,                                :
                                              :  18 U.S.C. § 1752(a)(2)
                    Defendants.               :  (Disorderly and Disruptive Conduct in a
                                              :  Restricted Building or Grounds)
                                              :
                                              :  40 U.S.C. § 5104(e)(2)(D)
                                              :  (Disorderly Conduct in
                                              :  a Capitol Building)
                                              :
                                              :  40 U.S.C. § 5104(e)(2)(G)
                                              :  (Parading, Demonstrating, or Picketing in
                                              :  a Capitol Building)
                                              :
                                              :
                                        INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, CHRISTOPHER LOGSDON

and TINA LOGSDON, did knowingly enter and remain in a restricted building and grounds, that

is, any posted, cordoned-off, or otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, CHRISTOPHER LOGSDON

and TINA LOGSDON, did knowingly, and with intent to impede and disrupt the orderly conduct

of Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, or

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, CHRISTOPHER LOGSDON

and TINA LOGSDON, willfully and knowingly engaged in disorderly and disruptive conduct

within the United States Capitol Grounds and in any of the Capitol Buildings with the intent to

impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of

Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, CHRISTOPHER LOGSDON

and TINA LOGSDON, willfully and knowingly paraded, demonstrated, and picketed in any

United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                   MATTHEW M. GRAVES
                                   UNITED STATES ATTORNEY
                                   D.C. Bar No. 481052



                             By:   s/Elizabeth Rogers
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January 18, 2021




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